      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 1 of 36




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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NEW YORK


    AMY COMFORT, on behalf of herself    )        Case No.: 19-cv-157
    and others similarly situated,       )
                                         )
              Plaintiff,                 )
    vs.                                  )
                                         )
    RICOLA USA, INC.,                    )
                                         )
              Defendant.                 )
                                         )
                                         )
                                         )
                                         )
                                         )
       Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 2 of 36




       Plaintiff Amy Comfort (“Plaintiff”), individually and on behalf of all others similarly

situated (“Putative Class”), by and through the undersigned counsel, hereby files this Class

Action Complaint, against Defendant, Ricola USA, Inc. (“Defendant” or “Ricola”), and alleges

as follows:

                                 NATURE OF THE ACTION

       1.      This is a consumer protection class action. Defendant has unlawfully,

fraudulently, unfairly, misleadingly, and/or deceptively represented that several varieties of its

Ricola Herb Throat Drops are “Naturally Soothing” or otherwise “natural” when they are not

natural because they contain synthetic, artificial, and/or genetically modified ingredients.

Defendant’s Throat Drops include, but are not limited to, the following varieties:

               a. Cherry Honey;

                       i. Unnatural ingredient: malic acid.

               b. Green Tea with Echinacea – Sugar Free;

                       i. Unnatural ingredients: aspartame, citric acid, and sorbitol.

               c. Honey Lemon with Echinacea;

                       i. Unnatural ingredient: ascorbic acid.

               d. Lemon Mint;

                       i. Unnatural ingredient: citric acid.

               e. Lemon Mint – Sugar Free;

                       i. Unnatural ingredients: ascorbic acid, aspartame, and citric acid.

               f. Mixed Berry with Vitamin C;1

                       i. Unnatural ingredients: sodium ascorbate and citric acid.


1.    This variety only states the following misrepresentation on its labeling: “Naturally Helps
Support Immune System.”

                                CLASS ACTION COMPLAINT
                                           2
       Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 3 of 36




               g. Original Swiss Herb – Sugar Free;

                       i. Unnatural ingredients: aspartame and sorbitol.

               h. Swiss Cherry – Sugar Free; and

                       i. Unnatural ingredients: aspartame, citric acid, and isomalt.

               i. All other substantially similar Products (“Products”).

       2.      Additionally, a list of the Products at issue are contained in Exhibit A attached

hereto. The list may be modified if Defendant falsely or misleadingly labels even more of its

Products as “Naturally Soothing.”

       3.      Defendant manufactured, marketed, advertised, and sold the Products as being

“Naturally Soothing” on the very front packaging of the Products. The representation that the

Products are “Naturally Soothing” is central to the marketing of the Products. The

misrepresentations were uniform and were communicated to Plaintiff and every other member of

the Putative Class in the same manner.

       4.      Unfortunately for consumers, the “Naturally Soothing” claim is false, misleading

and likely to deceive reasonable consumers in the same respect, due to their unnaturalness for

containing various unnatural, synthetic, artificial, and/or genetically modified ingredients.

       5.      Defendant labels the Products as “Naturally Soothing” because consumers

perceive Naturally Soothing foods as the equivalent as organic foods and being healthier, better,

and more wholesome. The market for Naturally Soothing foods has grown rapidly in the past few

years, a trend Defendant seeks to take advantage of through false and misleading advertising.

       6.      Through this deceptive practice, Defendant was able to command a premium

price by deceiving consumers about the attributes of its Products and distinguishing the Products

from similar products that do not claim to be “Naturally Soothing.” Defendant was motivated to



                                 CLASS ACTION COMPLAINT
                                            3
       Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 4 of 36




mislead consumers for no other reason than to take away market share from competing products,

thereby increasing its own profits. Plaintiff brings this action to stop Defendant’s misleading

practice.

       7.      Therefore, Plaintiff brings this class action individually, and on behalf of all

others similarly situated, to secure, among other things, equitable relief, declaratory relief,

restitution, and in the alternative, damages, for a Putative Class of similarly situated purchasers,

against Defendant, for: (1) Violations New York Deceptive Trade Practices Law, NY Gen. Bus.

§ 349(a); (2) Violations New York Deceptive Trade Practices Law, NY Gen. Bus. §§ 350, et seq;

(3) Unjust Enrichment; and (4) Negligent Misrepresentation.

       8.      Specifically, Plaintiff is seeking damages individually and on behalf of the

Putative Class. In addition, Plaintiff is seeking an Order requiring Defendant to cease using

unnatural, synthetic, artificial, and/or genetically modified ingredients in its “Naturally

Soothing” Products, and/or Ordering Defendant to cease from representing the Products are

“Naturally Soothing” on the packaging for the Products that contain unnatural, synthetic,

artificial, and/or genetically modified ingredients.

       9.      Plaintiff expressly does not seek to contest or enforce any state law that has

requirements beyond those required by Federal laws or regulations.

       10.     All allegations herein are based on information and belief and/or are likely to

have evidentiary support after reasonable opportunity for further investigation and discovery.




                                 CLASS ACTION COMPLAINT
                                            4
       Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 5 of 36




                                JURISDICTION AND VENUE

       11.     This Court has jurisdiction over the subject matter presented by this Complaint,

because it is a class action arising under the Class Action Fairness Act of 2005 (“CAFA”), Pub.

L. No. 109-2, 119 Stat. 4 (2005), which explicitly provides for the original jurisdiction of the

Federal Courts of any class action in which any member of the Putative Class is a citizen of a

state different from any defendant, and in which the matter in controversy exceeds in the

aggregate the sum of $5,000,000.00, exclusive of interest and costs.

       12.     Pursuant to 28 U.S.C. § 1332(d)(2)(A), Plaintiff alleges that the total claims of the

individual members of the Putative Class in this action are in excess of $5,000,000.00, in the

aggregate, exclusive of interest and costs, and as set forth below, diversity of citizenship exists

under CAFA because Plaintiff is a citizen of the State of New York, and Defendant can be

considered a citizen of the State of New Jersey.

       13.     This Court has personal jurisdiction over Defendant because, Plaintiff’s claims

arise out of Defendant’s conduct within the State of New York.

       14.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(a)(1) and (2).

Substantial acts in furtherance of the alleged improper conduct, including the dissemination of

false information regarding the quality of Defendant’s Products, occurred within this district.

                                            PARTIES

       15.     Plaintiff, Amy Comfort, is over eighteen years old, and is a citizen of New York,

resident of Corning, New York and purchased one or more of Defendant’s Products at issue

during the Class Period based upon the “Naturally Soothing” representation.

       16.     Specifically, Plaintiff purchased one or more of the Products during the Class

Period, including, but not limited to, a purchase of the products from a Walgreens in Corning,



                                CLASS ACTION COMPLAINT
                                           5
       Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 6 of 36




New York, in the December, 2018.

       17.     Defendant, Ricola, is a corporation incorporated under the laws of the State of

New Jersey, with its principal place of business located at 6 Campus Dr., 2nd Floor South,

Parsippany, New Jersey 07054. Defendant can be considered a “citizen” of New Jersey for

diversity purposes.

       18.     During the Class Period, Defendant promoted and marketed the Products at issue

in this jurisdiction and in this judicial district. The advertising for the Products relied upon by

Plaintiff was prepared and/or approved by Defendant and its agents, and was disseminated by

Defendant and its agents through advertising containing the misrepresentations alleged herein.

       19.     Defendant is the owner, manufacturer, and distributor of the Products, and is the

company that created and/or authorized the unlawful, fraudulent, unfair, misleading, and/or

deceptive advertising and statements for the Products.

       20.     Plaintiff alleges that, at all times relevant herein, Defendant and its subsidiaries,

affiliates, and other related entities, as well as their respective employees, were the agents,

servants, and employees of Defendant, and at all times relevant herein, each was acting within

the purpose and scope of that agency and employment.

       21.     Plaintiff further alleges on information and belief that at all times relevant herein,

the distributors and retailers who delivered and sold the Products, as well as their respective

employees, also were Defendant’s agents, servants and employees, and at all times herein, each

was acting within the purpose and scope of that agency and employment.

       22.     In addition, Plaintiff alleges that, in committing the wrongful acts alleged herein,

Defendant, in concert with its subsidiaries, affiliates, and/or other related entities and their

respective employees, planned, participated in and furthered a common scheme to induce



                                CLASS ACTION COMPLAINT
                                           6
       Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 7 of 36




members of the public to purchase the Products by means of untrue, misleading, deceptive,

and/or fraudulent representations, and that Defendant participated in the making of such

representations in that it disseminated those misrepresentations and/or caused them to be

disseminated.

       23.      Whenever reference in this Complaint is made to any act by Defendant or its

subsidiaries, affiliates, distributors, retailers and other related entities, such allegation shall be

deemed to mean that the principals, officers, directors, employees, agents, and/or representatives

of Defendant committed, knew of, performed, authorized, ratified, and/or directed that act or

transaction on behalf of Defendant while actively engaged in the scope of their duties.

                               SUBSTANTIVE ALLEGATIONS

A.      Defendant’s False and Misleading Advertising of the “Naturally Soothing” Products

       24.      Throughout the Class Period, Defendant manufactured, distributed, marketed,

advertised, and sold the Products throughout the United States, including throughout the State of

New York and in this judicial District.

       25.      The Products uniformly claimed to be “Naturally Soothing,” when in fact, they

were not, because they contained unnatural, synthetic, artificial, and/or genetically modified

ingredients, including aspartame, ascorbic acid, citric acid, isomalt, malic acid, and sorbitol.

       26.      Through a variety of advertising, including the front packaging of the Products,

Defendant made untrue and misleading material statements and representations regarding the

Products, which have been relied upon by Plaintiff and members of the Putative Class.

       27.      Defendant’s “Naturally Soothing” statement prominently displayed on the front of

the packaging for the Products’ was untrue, misleading, and likely to deceive reasonable

consumers, such as Plaintiff and members of the Putative Class, because the Products are not



                                 CLASS ACTION COMPLAINT
                                            7
       Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 8 of 36




“Naturally Soothing,” due to the presence of unnatural, synthetic, artificial, and/or genetically

modified ingredients in the Products.

       28.        Defendant unlawfully marketed, advertised, sold and distributed the Products to

United States purchasers in grocery stores, food chains, mass discounters, mass merchandisers,

club stores, convenience stores, drug stores, and/or dollar stores, as being “Naturally Soothing.”

       29.        All of the Products’ packaging uniformly and consistently stated that the Products

are “Naturally Soothing” on the front of the packaging for each of the Products.

       30.        As a result, all consumers within the Putative Class, including Plaintiff, who

purchased the Products were exposed to the same “Naturally Soothing” claim in the same

location on the individual packaging for the Products.

       31.        Unfortunately for consumers, they were charged a price premium for these

alleged “Naturally Soothing” Products over Products that did not claim to be “Naturally

Soothing.”

       32.        Defendant’s “Naturally Soothing” representations conveyed a series of express

and implied claims that Defendant knew were material to the reasonable consumer, and which

Defendant intended for consumers to rely upon when choosing to purchase the Products.

             B.      The Products Are Not “Naturally Soothing” Because They Are Highly
                    Processed and Contain Synthetic, Artificial, and/or Genetically Modified
                                                Ingredients

       33.        Contrary to Defendant’s representations that the Products are “Naturally

Soothing,” they contain ingredients, without limitation, such as aspartame, ascorbic acid, citric

acid, isomalt, malic acid, and sorbitol which are unnatural, synthetic, artificial, and/or genetically

modified. The presence of these ingredients in the Products cause the Products to not be

“Naturally Soothing.”



                                   CLASS ACTION COMPLAINT
                                              8
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 9 of 36




       34.    Genetically modified crops do not occur in nature, and as such are not “Naturally

Soothing.” On the contrary, genetically modified crops are crops that are genetically manipulated

from their natural state. For example, Monsanto, one of the largest producers of genetically

modified crop seed, defines genetic modification (or genetic engineering) to mean “[t]he

technique of removing, modifying or adding genes to a living organism via genetic engineering

or other more traditional methods. Also referred to as gene splicing, recombinant DNA (rDNA)

technology or genetic engineering.” Monsanto also defines Genetically Modified Organisms

(“GMO”) as “any organism the genetics of which have been altered through the use of modern

biotechnology to create a novel combination of genetic material. GMOs may be the source of

genetically modified food ingredients and are also widely used in scientific research and to

produce goods other than food.”2

       35.    Upon information and belief, almost all corn grown in the United States is grown

from seeds that have been genetically modified, and as such, almost all corn and corn-based

ingredients in the United States are in fact unnatural, synthetic, artificial, and/or genetically

modified ingredients.3

       36.    According to the World Health Organization, of which the United States is

Member State, “GMOs can be defined as organisms in which the genetic material (DNA) has

been altered in a way that does not occur naturally. The technology is often called ‘modern

biotechnology’ or ‘gene technology,’ sometimes also ‘recombinant DNA technology’ or ‘genetic



2.       See Monsanto Glossary, http://www.monsanto.com/newsviews/pages/glossary.aspx#g
(last visited Dec. 19, 2016).

3.      Jorge Fernandez-Cornejo and Seth James Wechsler, Adoption of Genetically Engineered
Crops in the U.S., United States Department of Agriculture Economic Research Service,
www.ers.usda.gov/data-products/adoption-of-genetically-engineered-crops-in-the-us/recent-
trends-in-ge-adoption.aspx (Last updated July 09, 2015) (89% of corn in the United States is
genetically modified).

                                CLASS ACTION COMPLAINT
                                           9
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 10 of 36




engineering.’ It allows selected individual genes to be transferred from one organism into

another, also between non-related species.”4

       37.     In addition, the Supreme Court has held a naturally occurring DNA segment is a

product of nature and not patent eligible, but that synthetically created DNA was not naturally

occurring and, therefore, is not precluded from patent eligibility. See Ass’n. for Molecular

Pathology v. Myriad Genetics, Inc., No. 12-398, 2013 WL 2631062 (June 13, 2013). Because

naturally occurring genes cannot be patented, it follows that genes that can be patented are not

natural.

       38.     Because GMOs have been modified through biotechnology, the Products are not

“Naturally Soothing.”

       39.     Ascorbic acid is a synthetically and chemically modified form of vitamin C used

in foods as a chemical preservative. It is produced from corn or wheat starch being converted to

glucose, then to sorbitol, through a series of chemical processes and purification steps. Larsen v.

Trader Joe's Co. 917 F. Supp. 2d 1019, 1021 (N.D. Cal. 2013). Further, Ascorbic acid is

specifically listed as a “synthetic” under the Code of Federal Regulations. 21 C.F.R. §

205.605(b).

       40.     Aspartame is well known as an artificial, non-saccharide sweetener.

       41.     Citric Acid is a weak organic acid found in citrus fruits. Citric acid is frequently

used as a preservative and food additive to provide acidity and sour taste to foods and

beverages.5 Citric acid can be derived in two ways: 1) through direct extraction from a citrus


4.      WORLD HEALTH ORGANIZATION, 20 Questions on Genetically Modified (GM) Foods,
http://www.who.int/foodsafety/publications/biotech/20questions/en/index.html (last visited Oct.
3, 2016).

5.     Kristina L. Penniston, Stephen Y. Nakada, Ross P. Holmes, and Dean G. Assimos,
Quantitative Assessment of Citric Acid in Lemon Juice, Lime Juice, and Commercially-Available

                                CLASS ACTION COMPLAINT
                                           10
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 11 of 36




fruit (i.e. naturally), or 2) through industrial manufacturing and synthesis of glucose sources (i.e.

synthetically). 6 Production from this latter method has been industry practice for the last 80

years. 7 Federal regulations allow for two synthetic alternatives to natural extraction: 1)

“mycological fermentation using Candida guilliermondii,” and 2) by the “solvent extraction

process […] for the recovery of citric acid from aspergillus niger fermentation liquor.” 21 C.F.R.

§ 184.1033. Candida guilliermondii is a type of yeast that produces citric acid. Major industry

food manufacturers predominantly create citric acid with aspergillus niger fermentation. 8 Citric

Acid is made synthetically by the fermentation of glucose. The principal sources of glucose in

industry are genetically modified sugar beets and maize.9 This fermentation process increases the

acidity of a microbe’s environment, which makes it harder for bacteria and mold to survive and

reproduce.10 Further, to increase Citric Acid yields, the genetic engineering of aspergillus niger

that is used to create Citric Acid has been an industry focus since the 1990s. 11 Thus, not only are

the glucose sources of citric acid genetically modified, but the aspergillus niger used to ferment

the glucose that creates Citric Acid is genetically modified.12

       42.     Isomalt derives from maltitol, a sugar substitute made from corn or beet sugar –

both GMO crops. Alain Braux, GMO 101: A Practical Guide to Genetically Engineered Food

131 (2014). Isomalt is manufactured in a two-stage process in which sucrose is first transformed



Fruit Juice Products, 22 JOURNAL OF ENDOUROLOGY 3, 567-570 (2008),
www.ncbi.nlm.nih.gov/pmc/articles/PMC2637791/.
6.      B. Kristiansen, Joan Linden, Michael Mattey, CITRIC ACID BIOTECHNOLOGY 8-9 (1999).
7.      Id.
8.      Sanjai Saxena, APPLIED MICROBIOLOGY 76 (2015).
9.      Whitney J. Waters, Seeds of Compromise: A Proposal and Justification for the Partial
Deregulation of Genetically Modified Alfalfa and Sugar Beets, 4 Ky. J. Equine, Agric. & Nat.
Resources L. 175, 178 (2012).
10.     Saxena, supra at note 8.
11.     Kristiansen et al., supra at 6.
12.     Id.

                                 CLASS ACTION COMPLAINT
                                            11
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 12 of 36




into isomaltulose, a reducing disaccharide (6-O-α-D glucopyranosido-D-fructose). Id. The

isomaltulose is then hydrogenated, using a Raney nickel catalytic converter. Id.

       43.     Malic Acid is a synthetic compound. U.S. International Trade Commission,

Synthetic Organic Chemical Index, USTIC Pub. 2933 (Nov. 1995). It is synthetically produced

by the hydration of fumaric or maleic acid. 21 C.F.R. § 184.1069. Both fumaric acid and maleic

acid are hazardous substances. 40 C.F.R. 116.4. Notably, Malic acid is not permitted in baby

foods. 21 C.F.R. § 184.1069(d). Additionally, Malic acid is a synthetic preservative.

       44.     Sorbitol is a sugar alcohol that derives from corn; 89% of corn in the United

States is genetically modified.13 On information and belief, the Sorbitol contained in Defendant’s

Products is derived from genetically modified corn. Additionally, the process by which sorbitol

is created involves highly synthetic chemical processes.

       45.     Despite all these unnatural ingredients, Defendant knowingly markets the

Products as “Naturally Soothing.”

       C.      Defendant Deceptively Markets the Products as “Naturally Soothing” to
               Induce Consumers to Purchase the Products

       46.     Despite the unnatural ingredients contained in the Products, Defendant knowingly

markets the Products as “Naturally Soothing” and fails to disclose material information about the

Products; i.e. the fact they contain unnatural, synthetic, artificial, and/or genetically modified

ingredients. This non-disclosure, while at the same time branding the Products as “Naturally

Soothing,” is deceptive and likely to mislead a reasonable consumer.

       47.     A representation that a product is “Naturally Soothing” is material to a reasonable

consumer. According to Consumers Union, “Eighty-six percent of consumers expect a ‘natural’




13.    Jorge Fernandez-Cornejo and Seth James Wechsler, supra at note 3.

                                CLASS ACTION COMPLAINT
                                           12
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 13 of 36




label to mean processed foods do not contain any artificial ingredients.”14

       48.     Defendant marketed and advertised the Products as “Naturally Soothing” to

increase sales of the Products and Defendant is well-aware that claims of food being “Naturally

Soothing” are material to consumers. Despite knowing that not all of the ingredients are

“Naturally Soothing,” Defendant engaged in a widespread marketing and advertising campaign

to portray the Products as being “Naturally Soothing.”

       49.     Defendant engaged in this misleading and deceptive campaign to charge a

premium for the Products and take away market share from other similar products.

       50.     Reasonable consumers frequently rely on food label representations and

information in making purchase decisions.

       51.     Plaintiff and the other Putative Class members reasonably relied to their detriment

on Defendant’s misleading representations and omissions. Defendant’s misleading affirmative

statements about the “Naturally Soothing” nature of its Products obscured the material facts that

Defendant failed to disclose about the unnaturalness of its Products.

       52.     Plaintiff and the other Putative Class members were among the intended

recipients of Defendant’s deceptive representations and omissions.

       53.     Defendant made the deceptive representations and omissions on the Products with

the intent to induce Plaintiff’s and the other Putative Class members’ purchase of the Products.

       54.     Defendant’s deceptive representations and omissions were material in that a

reasonable person would attach importance to such information and would be induced to act

upon such information in making purchase decisions.


14.     See Notice of the Federal Trade Commission, Comments of Consumers Union on
Proposed Guides for Use of Environmental Marketing Claims, 16 CFR § 260, Dec. 10, 2010,
http://www.ftc.gov/os/comments/greenguiderevisions/00289-57072.pdf.


                                CLASS ACTION COMPLAINT
                                           13
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 14 of 36




       55.     Thus, Plaintiff’s and the other Putative Class members’ reliance upon Defendant’s

misleading and deceptive representations and omissions may be presumed.

       56.     The materiality of those representations and omissions also establishes causation

between Defendant’s conduct and the injuries sustained by Plaintiff and the Putative Class.

       57.     Defendant’s false, misleading, and deceptive misrepresentations and omissions

are likely to continue to deceive and mislead reasonable consumers and the general public, as

they have already deceived and misled Plaintiff and the other Putative Class members.

       58.     In making the false, misleading, and deceptive representations and omissions,

Defendant knew and intended that consumers would pay a premium for “Naturally Soothing”

labeled products over comparable products that are not labeled “Naturally Soothing” furthering

Defendant’s private interest of increasing sales for its Products and decreasing the sales of

products that are truthfully offered as “Naturally Soothing” by Defendant’s competitors, or those

that do not claim to be “Naturally Soothing.”

       59.     As an immediate, direct, and proximate result of Defendant’s false, misleading,

and deceptive representations and omissions, Defendant injured Plaintiff and the other Putative

Class members in that they:

               a. paid a sum of money for Products that were not as represented;

               b. paid a premium price for Products that were not as represented;

               c. were deprived the benefit of the bargain because the Products they purchased

                  were different than what Defendant warranted;

               d. were deprived the benefit of the bargain because the Products they purchased

                  had less value than what was represented by Defendant;




                                CLASS ACTION COMPLAINT
                                           14
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 15 of 36




              e. did not receive Products that measured up to their expectations as created by

                  Defendant;

              f. ingested a substance that was other than what was represented by Defendant;

              g. ingested a substance that Plaintiff and the other members of the Putative Class

                  did not expect or consent to;

              h. ingested a product that was artificial, synthetic, genetically modified, or

                  otherwise unnatural;

              i. ingested a substance that was of a lower quality than what Defendant

                  promised;

              j. were denied the benefit of knowing what they ingested;

              k. were denied the benefit of truthful food labels;

              l. were forced unwittingly to support an industry that contributes to

                  environmental, ecological, and/or health damage;

              m. were denied the benefit of supporting an industry that sells natural foods and

                  contributes to environmental sustainability; and

              n. were denied the benefit of the beneficial properties of the natural foods

                  promised.

       60.    Had Defendant not made the false, misleading, and deceptive representations and

omissions, Plaintiff and the other Putative Class members would not have been economically

injured because Plaintiff and the other Putative Class members would not have purchased the

Products or would have paid less for the Products.

       61.    Plaintiff and the other Putative Class members did not obtain the full value of the

advertised Products due to Defendant’s misrepresentations and omissions. Plaintiff and the other



                                CLASS ACTION COMPLAINT
                                           15
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 16 of 36




Putative Class members purchased, purchased more of, or paid more for, the Products than they

would have done, had they known the truth about the Products’ unnaturalness.

       62.     Accordingly, Plaintiff and the other Putative Class members have suffered injury

in fact and lost money or property as a result of Defendant’s wrongful conduct.

          D.      Plaintiff’s Purchase and Reliance on the “Naturally Soothing” Statement

       63.     Plaintiff purchased Ricola during the Class Period and prior to the

commencement of this action. Plaintiff relied upon the statement that the Products were

“Naturally Soothing” in deciding to purchase the Products. Had Plaintiff known at the time that

the Products were not, in fact, “Naturally Soothing,” but, instead, contained unnatural, synthetic,

artificial, and/or genetically modified ingredients, Plaintiff would not have purchased the

Products or would have paid less for the Products. However, if Defendant’s misleading conduct

were remedied, i.e., if the Products were altered to conform to the representations on the labels,

Plaintiff would purchase the Products again.

       64.     The Products purchased by Plaintiff claimed to be “Naturally Soothing” on the

front packaging, which Plaintiff perceived, read, and relied on in making Plaintiff’s decision to

purchase the Products. Plaintiff interpreted the “Naturally Soothing” claim to mean that the

Products did not contain any unnatural, synthetic, artificial, and/or genetically modified

ingredients.

       65.     Subsequent to purchasing the Products, Plaintiff discovered that they contained

unnatural, synthetic, artificial, and/or genetically modified ingredients.

       66.     Plaintiff and members of the Putative Class would not have purchased or would

have paid less for the Products had they known that they were not “Naturally Soothing” and

contained unnatural, synthetic, artificial, and/or genetically modified ingredients.



                                 CLASS ACTION COMPLAINT
                                            16
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 17 of 36




       67.     Defendant’s “Naturally Soothing” statement related to the Products is material to

a consumer’s purchase decision because reasonable consumers, such as Plaintiff and members of

the Putative Class, care whether products contain unnatural, synthetic, artificial, and/or

genetically modified ingredients, and thus attach importance to an “Naturally Soothing” claim

when making a purchasing decision.

       68.     Plaintiff and the Putative Class, all reasonable consumers, do not expect Products

that claim to be “Naturally Soothing” to contain highly processed, unnatural, synthetic, artificial,

and/or genetically modified ingredients.

       69.     Plaintiff would not have purchased the Products if Plaintiff had known the

“Naturally Soothing” claim was false. Plaintiff would purchase the Products again if they were

not misbranded. However, if Plaintiff and the Putative Class purchase the Products again in their

presently labeled condition, they will reencounter and repurchase Products that are not what they

are represented to be. Thus, Defendant’s deceptive and unfair conduct has deterred Plaintiff from

purchasing the mislabeled Products.

       70.     Plaintiff and the Putative Class have suffered and will continue to suffer

irreparable harm if Defendant continues to engage in such deceptive, unfair, and unreasonable

practices.

                           E.     Plaintiff Has Suffered Economic Damages

       71.     As a result of purchasing the Products that claim to be “Naturally Soothing,” but

contain unnatural, synthetic, artificial, and/or genetically modified ingredients, Plaintiff and

members of the Putative Class have suffered economic damages.

       72.     Defendant’s “Naturally Soothing” advertising for the Products was and is false,

misleading, and/or likely to deceive reasonable consumers. Therefore, the Products are valueless,



                                 CLASS ACTION COMPLAINT
                                            17
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 18 of 36




worth less than what Plaintiff and members of the Putative Class paid for them, and/or are not

what Plaintiff and members of the Putative Class reasonably intended to receive.

         73.   Because the Products are unlawfully misbranded, and there is no market value for

an unlawful product, Plaintiff and the Putative Class seek damages equal to the aggregate

purchase price paid for the Products during the Class Period and injunctive relief described

below.

         74.   Moreover, and in the alternative, Plaintiff and members of the Putative Class paid

a price premium for the so called “Naturally Soothing” Products, over other similar products that

do not claim to be “Naturally Soothing.” As a result, Plaintiff and the Putative Class are entitled

to damages in the amount of the difference between the premium purchase price charged for the

Products and the true market value of the Products without the false “Naturally Soothing”

representations. Plaintiff and the Putative Class are also entitled to statutory damages.

         75.   Plaintiff and the Putative Class face a real and immediate threat of future harm in

the form of deceptively labeled, packaged, and marketed Products sold at inflated prices based

upon the deception that the Products are “Naturally Soothing,” when they are not. Absent an

injunctive order, Plaintiff and the Putative Class cannot rely on Defendant’s Products to be

truthful and non-misleading, and the Products will continue to be sold at an artificially inflated

price beyond its true market value.

         76.   Defendant’s on-going wrongful conduct and practices, if not enjoined, will

subject Plaintiff, the Putative Class, and other members of the public to substantial continuing

harm and will cause irreparable injury to the public. Absent the injunctive power of this Court,

Defendant will be permitted to continue to deceive and mislead members of the Putative Class

and consuming public at large.



                                 CLASS ACTION COMPLAINT
                                            18
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 19 of 36




                               CLASS ACTION ALLEGATIONS

       77.     Plaintiff re-alleges and incorporates by reference the allegations set forth in each

of the preceding paragraphs of this Class Action Complaint as if fully set forth herein.

       78.     Pursuant to Federal Rule of Civil Procedure 23, Plaintiff brings this class action

and seeks certification of the claims and certain issues in this action on behalf of a Putative Class

defined as a Statewide Class and additionally and/or alternatively, a Nationwide Class as

follows:

               a.       Nationwide Class. Plaintiff brings this action on behalf of Plaintiff and on

       behalf of a nationwide class, as follows:

                    i. Nationwide Class.

                        1. Pursuant to Rule 23(a) and (b)(2), all United States residents who

                           purchased the Products, for personal use and not resale, during the

                           four-year period preceding the date of the filing of this Complaint,

                           through and to the date Notice is provided to the Class;

                        2. Pursuant to Rule 23(a) and (b)(3) all United States residents who

                           purchased the Products, for personal use and not resale, during the

                           four-year period preceding the date of the filing of this Complaint,

                           through and to the date Notice is provided to the Class.

                 ii. Statewide Class. Plaintiff brings this action on behalf of Plaintiff and on

                      behalf of a statewide class, as follows:

                         1. New York Class.

                            a. Pursuant to Rule 23(a) and (b)(2), all New York residents who

                                purchased the Products, for personal use and not resale, during the



                                  CLASS ACTION COMPLAINT
                                             19
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 20 of 36




                                four-year period preceding the date of the filing of this Complaint,

                                through and to the date Notice is provided to the Class;

                            b. Pursuant to Rule 23(a) and (b)(3), all New York residents who

                                purchased the Products, for personal use and not resale, during the

                                four-year period preceding the date of the filing of this Complaint,

                                through and to the date Notice is provided to the Class.

       79.     Plaintiff respectfully reserves the right to amend the Class definition if further

investigation and discovery indicates that the Class definition should be narrowed, expanded, or

otherwise modified, including a reservation of the right to seek to certify subclasses, if discovery

reveals that modifying the class definitions and/or seeking additional subclasses would be

appropriate, including subclasses by state and/or purchase location.

       80.     Excluded from the Putative Class are governmental entities, Defendant, any entity

in which Defendant has a controlling interest, and Defendant’s officers, directors, affiliates, legal

representatives, employees, co-conspirators, successors, subsidiaries, and assigns. Also excluded

from the Putative Class is any judge, justice, or judicial officer presiding over this matter and the

members of their immediate families and judicial staff.

       81.     Defendant’s representations, practices, and/or omissions were applied uniformly

to all members of the Putative Class, including any subclass, so that the questions of law and fact

are common to all members of the Putative Class and any subclass.

       82.     All members of the Putative Class and any subclass were and are similarly

affected by the deceptive advertising for the Products, and the relief sought herein is for the

benefit of Plaintiff and members of the Putative Class and any subclass.

Numerosity—Federal Rule of Civil Procedure 23(a)(1)



                                 CLASS ACTION COMPLAINT
                                            20
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 21 of 36




       83.    Based on the annual sales of the Products and the popularity of the Products, it is

readily apparent that the number of consumers in both the Putative Class and any subclass are so

large as to make joinder impractical, if not impossible. Members of the Putative Class and any

subclass may be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. Mail, electronic mail, Internet postings, and/or

published notice.

Commonality and Predominance—Federal Rules of Civil Procedure 23(a)(2) and (b)(3)

       84.    Questions of law and fact common to the Putative Class and any subclass exist

that predominate over questions affecting only individual members, including:

              a.      Whether Defendant’s business practices and representations related to the

       marketing, labeling, and sales of the Products were unfair, deceptive, fraudulent, and/or

       unlawful in any respect, thereby violating New York Deceptive Trade Practices Law, NY

       Gen. Bus. § 349(a);

              b.      Whether Defendant violated New York Deceptive Trade Practices Law,

       NY Gen. Bus. §§ 350 et seq., with its practices and representations related to the

       marketing, labeling, and sales of the Products;

              c.      Whether knowledge of the fact that the Products are not “Naturally

       Soothing” is material to a reasonable consumer;

              d.      Whether the claim that the Products are “Naturally Soothing” is

       misleading to a reasonable consumer;

              e.      Whether a reasonable consumer is likely to be deceived by claims that the

       Products are “Naturally Soothing,” despite the fact that the Products’ are unnatural,

       artificial, synthetic, and/or genetically modified; and



                                CLASS ACTION COMPLAINT
                                           21
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 22 of 36




               f.      Whether Defendant’s conduct as set forth above injured consumers, and if

       so, the extent of the injury.

Typicality—Federal Rule of Civil Procedure 23(a)(3)

       85.     The claims asserted by Plaintiff in this action are typical of the claims of the

members of the Putative Class and any subclass, as the claims arise from the same course of

conduct by Defendant, and the relief sought within the Putative Class and any subclass is

common to the members of each. Further, there are no defenses available to Defendant that are

unique to Plaintiff.

Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4):

       86.     Plaintiff will fairly and adequately represent and protect the interests of the

members of the Putative Class and any subclass.

       87.     Plaintiff has retained counsel competent and experienced in both consumer

protection and class action litigation. The Putative Class’s and any subclass’s interests will be

fairly and adequately protected by Plaintiff’s counsel. Undersigned counsel has represented

consumers in a wide variety of actions where they have sought to protect consumers from

fraudulent and deceptive practices.

Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2)

       88.     Certification also is appropriate because Defendant acted, or refused to act, on

grounds generally applicable to both the Putative Class and any subclass, thereby making

appropriate the final injunctive relief and declaratory relief sought on behalf of the Putative Class

and any subclass as respective wholes. Further, given the large number of consumers of the

Products, allowing individual actions to proceed in lieu of a class action would run the risk of

yielding inconsistent and conflicting adjudications.



                                 CLASS ACTION COMPLAINT
                                            22
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 23 of 36




Superiority—Federal Rule of Civil Procedure 23(b)(3)

       89.     A class action is a fair and appropriate method for the adjudication of the

controversy, in that it will permit a large number of claims to be resolved in a single forum

simultaneously, efficiently, and without the unnecessary hardship that would result from the

prosecution of numerous individual actions and the duplication of discovery, effort, expense and

burden on the courts that individual actions would engender.

       90.     The benefits of proceeding as a class action, including providing a method for

obtaining redress for claims that would not be practical to pursue individually, outweigh any

difficulties that might be argued with regard to the management of this class action. Absent a

class action, it would be highly unlikely that the representative Plaintiff or any other members of

the Putative Class or any subclass would be able to protect their own interests because the cost of

litigation through individual lawsuits might exceed expected recovery.

       91.     Certification of this class action is appropriate under Federal Rule of Civil

Procedure Rule 23, because the questions of law or fact common to the respective members of

the Putative Class and any subclass predominate over questions of law or fact affecting only

individual members. This predominance makes class litigation superior to any other method

available for a fair and efficient decree of the claims.




                                  CLASS ACTION COMPLAINT
                                             23
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 24 of 36




                                     CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION

                 Violation of the New York General Business Law § 349
                         (Unlawful Deceptive Acts and Practices)
       (On Behalf of Plaintiff and the New York Class and/or the Nationwide Class)

       92.     Plaintiff re-alleges and incorporates the paragraphs prior to the causes of action of

this Class Action Complaint as if set forth herein.

       93.     Plaintiff and the members of the Putative Class are consumers who purchased the

Products produced by Defendant. Plaintiff brings this action pursuant to New York General

Business Law § 349 (“GBL § 349”).

       94.     GBL § 349 prohibits “deceptive acts or practices in the conduct of any business,

trade or commerce or in the furnishing of any service in [New York].”

       95.     Defendant engaged in false and misleading marketing concerning the qualities

and ingredients of its Products by labeling the Products as “Naturally Soothing” when they are

not because they contain unnatural, synthetic, artificial, and/or genetically modified ingredients.

       96.     As fully alleged above, by advertising, marketing, distribution, and/or selling the

Products as “Naturally Soothing” to Plaintiff and other members of the Putative Class, Defendant

engaged in and continues to engage in deceptive acts and practices.

       97.     Plaintiff and the other members of the Putative Class further seek to enjoin such

unlawful deceptive acts and practices as described above. Each of the Putative Class members

will be irreparably harmed unless the unlawful actions of the Defendant are enjoined in that

Defendant will continue to falsely and misleadingly advertise the Products as “Naturally

Soothing” when they are not. Towards that end, Plaintiff and the Putative Class request an order

granting them injunctive relief as follows: order disclosures and/or disclaimers on the labeling or



                                 CLASS ACTION COMPLAINT
                                            24
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 25 of 36




advertising of the Defendant’s Products and/or remove the unnatural, synthetic, artificial, and/or

genetically modified ingredients.

       98.     Absent injunctive relief, Defendant will continue to manufacture and sell its

Products as “Naturally Soothing” to the detriment of consumers.

       99.     In this regard, Defendant has violated, and continues to violate GBL § 349, which

makes deceptive acts and practices unlawful.

       100.    As a direct and proximate result of Defendant’s violation of GBL § 349 as

described above, Plaintiff and the other members of the Putative Class have suffered damages in

an amount to be determined at trial.

       101.    Therefore, Plaintiff prays for relief as set forth below.

                                SECOND CAUSE OF ACTION

                 Violation of the New York General Business Law § 350
                                     (False Advertising)
       (On Behalf of Plaintiff and the New York Class and/or the Nationwide Class)


       102.    Plaintiff re-alleges and incorporates the paragraphs prior to the causes of action of

this Class Action Complaint as if set forth herein.

       103.    Plaintiff and the members of the Putative Class are consumers who purchased the

Products produced by Defendant. Plaintiff brings this action pursuant to New York General

Business Law § 350 (“GBL § 350”).

       104.    GBL § 350 makes “[f]alse advertising in the conduct of any business, trade or

commerce or in the furnishing of any service” in New York unlawful. GBL § 350 defines “false

advertising” in relevant part, as “advertising, including labeling, of a commodity . . . if such

advertising is misleading in a material respect.”

       105.    Defendant engaged in false and misleading advertising and marketing concerning


                                 CLASS ACTION COMPLAINT
                                            25
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 26 of 36




the qualities and ingredients of its Products by advertising the Products as “Naturally Soothing”

when they are not because they contain unnatural, synthetic, artificial, and/or genetically

modified ingredients.

       106.    As fully alleged above, by advertising the Products as “Naturally Soothing” when

they are not, Defendant engaged in and continues to engage in false advertising.

       107.    Plaintiff and the other members of the Putative Class further seek to enjoin such

unlawful acts and practices as described above. Each of the Putative Class members will be

irreparably harmed unless the unlawful actions of the Defendant are enjoined in that Defendant

will continue to falsely and misleadingly advertise the Products as “Naturally Soothing” when

they are not. Therefore, Plaintiff and the Putative Class request an order granting them injunctive

relief as follows: order disclosures and/or disclaimers on the labeling or advertising of the

Defendant’s Products and/or remove the unnatural, synthetic, artificial, and/or genetically

modified ingredients.

       108.    Absent injunctive relief, Defendant will continue to advertise the Products as a

“Naturally Soothing” food product to the detriment of consumers.

       109.    In this regard, Defendant has violated, and continues to violate GBL § 350, which

makes false advertising unlawful.

       110.    As a direct and proximate result of Defendant’s violation of GBL § 350 as

described above, Plaintiff and the other members of the Putative Class have suffered damages in

an amount to be determined at trial.

       111.    Therefore, Plaintiff prays for relief as set forth below.




                                 CLASS ACTION COMPLAINT
                                            26
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 27 of 36




                                 THIRD CAUSE OF ACTION

                                       Unjust Enrichment
                        (On Behalf of Plaintiff and the Nationwide Class)

       112.    Plaintiff re-alleges and incorporates the paragraphs prior to the causes of action of

this Class Action Complaint as if set forth herein.

       113.    As a result of Defendant’s deceptive, fraudulent, and misleading labeling,

advertising, marketing, and sales of the Products, Defendant was enriched, at the expense of

Plaintiff and the other Putative Class members through the payment of the purchase price for

Defendant’s Products.

       114.    Under the circumstances, it would be against equity and good conscience to

permit Defendant to retain the ill-gotten benefits that it received from Plaintiff and the other

Putative Class members in light of the fact that the Products purchased by Plaintiff and the other

Putative Class members were not what Defendant purported them to be. Thus, it would be unjust

or inequitable for Defendant to retain the benefit without restitution to Plaintiff and the other

Putative Class members for the monies paid to Defendant for such Products.

       115.    Therefore, Plaintiff prays for relief as set forth below.




                                 CLASS ACTION COMPLAINT
                                            27
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 28 of 36




                                FOURTH CAUSE OF ACTION

                                Negligent Misrepresentation
                       (On Behalf of Plaintiff and the Nationwide Class)

       116.    Plaintiff re-alleges and incorporates the paragraphs prior to the causes of action of

this Class Action Complaint as if set forth herein.

       117.    Defendant has negligently represented a material fact to the public, including

Plaintiff and the Putative Class, that the Products are “Naturally Soothing,” when they are not

natural because they contain unnatural, synthetic, artificial, and/or genetically modified

ingredients.

       118.    Defendant knew or should have known that these representations and/or

omissions would materially affect Plaintiff’s and the Putative Class’s decisions to purchase the

Products.

       119.    Plaintiff and other reasonable consumers, including the Putative Class, reasonably

relied on Defendant’s representations set forth herein, and, in reliance thereon, purchased the

Products.

       120.    The reliance by Plaintiff and the Putative Class was reasonable and justified in

that Defendant appeared to be, and represented itself to be, a reputable business, and it

distributed the Products through reputable companies.

       121.    Plaintiff and the Putative Class would not have been willing to pay, or would have

paid less, for Defendant’s Products if they knew that the Products were deceptively marketed as

“Naturally Soothing,” when they are not natural because they contain unnatural, synthetic,

artificial, and/or genetically modified ingredients.

       122.    As a direct and proximate result of these misrepresentations, Plaintiff and

                                 CLASS ACTION COMPLAINT
                                            28
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 29 of 36




members of the Putative Class were induced to purchase and consume Defendant’s Products, and

have suffered damages to be determined at trial in that, among other things, they have been

deprived of the benefit of the bargain in that they bought Products that were not what they were

represented to be, and they have spent money on Products that had less value than was reflected

in the premium purchase price they paid for the Products.

       123.    Accordingly, Plaintiff and the Putative Class are entitled to monetary and

compensatory damages, injunctive relief, restitution, and disgorgement of all moneys obtained

by means of Defendant’s unlawful conduct, pre- and post-judgment interest, and attorneys’ fees

and costs, and such further relief as this Court deems just and proper.

       124.    Therefore, Plaintiff prays for relief as set forth below.




                                 CLASS ACTION COMPLAINT
                                            29
      Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 30 of 36




                                    PRAYER FOR RELIEF

       THEREFORE, Plaintiff, individually and on behalf of all others similarly situated, prays

for judgment against Defendant as follows:

       A.      For an Order certifying the Class under Rule 23, naming Plaintiff as the Class

representative and designating Plaintiff’s counsel as counsel for the Putative Class;

       B.      For an Order declaring that Defendant has committed the violations alleged

               herein;

       C.      For declaratory and injunctive relief pursuant to, without limitation, section 349

               of the New York General Business Law;

       D.      For declaratory and injunctive relief pursuant to, without limitation, section 350

               of the New York General Business Law;

       E.      For an Order providing restitution, disgorgement, and all other forms of equitable

               monetary relief to Plaintiff and the other Putative Class members;

       F.      For an Order awarding damages, including but not limited to statutory damages

under GBL sections 349 and 350, in amounts to be determined by the Court and/or jury;

       G.      For an Order awarding pre- and post-judgment interest on all amounts awarded;

       H.      For an Order awarding Plaintiff and the other Putative Class members their

               reasonable attorneys’ fees and expenses and costs of suit; and

       I.      For such further relief as the Court may deem just and proper.




                                CLASS ACTION COMPLAINT
                                           30
     Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 31 of 36




                                  JURY TRIAL DEMANDED

       Plaintiff respectfully demands a trial by jury on all issues so triable.

Dated: February 1, 2019                       Respectfully Submitted,

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                                              Counsel for Plaintiff and the Putative Class




                                 CLASS ACTION COMPLAINT
                                            31
Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 32 of 36




                 EXHIBIT A
Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 33 of 36




Contested Ricola “Naturally Soothing” Products (listed in alphabetical order):


       a. Cherry Honey




       b. Green Tea with Echinacea – Sugar Free
Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 34 of 36




      c. Honey Lemon with Echinacea




      d. Lemon Mint
Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 35 of 36




      e. Lemon Mint – Sugar Free




      f. Mixed Berry with Vitamin C
Case 6:19-cv-06089-CJS-MJP Document 1 Filed 02/01/19 Page 36 of 36




      g. Original Swiss Herb – Sugar Free




      h. Swiss Cherry – Sugar Free
